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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


  ALNYLAM
  PHARMACEUTICALS, INC.,


                            Plaintiff,

                  v.                       Civil Action No. 22-336-CFC
                                           (consolidated)
  PFIZER, INC., PHARMACIA &
  UPJOHN CO. LLC, BIONTECH
  SE, and BIONTECH
  MANUFACTURING GMBH,

                         Defendants.



 Ethan H. Townsend, MCDERMOTT WILL & EMERY LLP, Wilmington,
 Delaware; William G. Gaede, III, Anisa Noorassa, MCDERMOTT WILL &
 EMERY LLP, San Francisco, California; Sarah Chapin Columbia, Sarah J.
 Fischer, MCDERMOTT WILL & EMERY LLP, Boston, Massachusetts; Ian B.
 Brooks, Timothy Dunker, MCDERMOTT WILL & EMERY LLP, Washington,
 D.C.; Bhanu K. Sadasivan, MCDERMOTT WILL & EMERY LLP, Menlo Park,
 California; Mandy H. Him, MCDERMOTT WILL & EMERY LLP, Irvine,
 California

             Counsel for Plaintiff

 Arthur G. Connolly, III, Alan R. Silverstein, CONNOLLY GALLAGHER LLP,
 Wilmington, Delaware; Sara Tonnies Horton, WILLK.IE FARR & GALLAGHER
 LLP, Chicago, Illinois; Michael W. Johnson, Daniel Constantinescu, Brian W.
 Frino, WILLKIE FARR & GALLAGHER LLP, New York, New York

             Counsel for Defendants Pfizer Inc., Pharmacia & Upjohn Co. LLC

 Jack B. Blumenfeld, Jeremy A. Tigan, MORRIS, NICHOLS, ARSHT &
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 TUNNELL LLP, Wilmington, Delaware; Charles B. Klein, Jovial Wong, Claire A.
 Fundakowski, WINSTON & STRAWN LLP, Washington, D.C.; Katherine L.
 Kyman, Brian L. O'Gara, WINSTON & STRAWN LLP, Chicago, IL; Ashley
 Graham, WINSTON & STRAWN LLP, New York, New York

             Counsel for Defendants BioNTech SE, BioNTech Manufacturing
             GmbH


                         MEMORANDUM OPINION




 August 12, 2024
 Wilmington, Delaware

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                                                               COLMF.     OLLY
                                                                   CHIEF JUDGE

       In these consolidated actions, Plaintiff Alnylam Pharmaceuticals, Inc.

 alleges that COVID-19 vaccines manufactured by Defendants Pfizer, Inc,

 Pharmacia & Upjohn Co. LLC, BioNTech SE, and BioNTech Manufacturing

 GmbH infringe claims of six Alnylam patents: U.S. Patent Nos. 11,246,933 (the

 #933 patent), 11,328,979 (the #979 patent), 11,590,229 (the #229 patent),

 11,612,657 (the #657 patent), 11,633,479 (the #479 patent), and 11,633,480 (the

 #480 patent). Pending before me is the parties' dispute about the construction of

 the term "head group," a term that appears in all the asserted claims of the #933

 and #979 patents, and in asserted claims 27 and 28 of the #229 patent, claims 4-6,

 15-19, 22, 23, 26, 28, and 29 of the #657 patent, claims 10-12 of the #479 patent,

 and claims 14, 11-15, and 17-19 of the #480 patent.

       The asserted patents are in the same patent family and have the same title:

 "Biodegradable Lipids for the Delivery of Active Agents." The patents also share

 the same written description and priority date (December 2011 ). According to the

 patents' Abstract, their claimed invention "relates to a cationic lipid" that has "one

 or more biodegradable groups located in a lipidic moiety (e.g., a hydrophobic

 chain)" and that "may be incorporated into a lipid particle for delivering an active

 agent, such as a nucleic acid." #933 patent, Abstract. Based on the parties'
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 agreement, I construed "cationic lipid" to mean "a lipid that is positively charged

 or that may be protonated at physiological pH." D.I. 109 at 1; see also D.I. 86

 at 15 (Alnylam stating that "[t]here is no dispute between the parties that a cationic

 lipid is a lipid that may be protonated at physiological pH."); D.I. 86 at 21

 (Defendants stating that "the parties agree that a cationic lipid, as the term is used

 in the Patents-in-Suit, must have at least one protonatable group, and thus, be

 protonatable."). Protonate means to add a proton to a molecule-that is, to

 positively charge the molecule.

       The asserted patents each claim a cationic lipid with three parts:

 (a) "hydrophobic tails," (b) a "linker" or "central moiety," and (c) a "head group."

 D.I. 124-1 ,r 15; D.I. 125 ,r 32. The crux of the dispute before me is whether the

 patents' claimed head group must be either permanently positively charged or

 protonatable. Defendants say yes to this question. Alnylam says that the head

 group need not be permanently positively charged or protonatable and that the

 positive charge of the claimed cationic lipid can reside in either the head group or

 the central moiety.

 I.    PROCEDURAL HISTORY
       I held a claim construction hearing for the #933 and #979 patents on August

 9, 2023. I heard argument that day on numerous terms, including "head group."

 The parties' arguments were extremely technical, and I therefore invited the parties


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 to present expert testimony about the meaning "head group" would have to an

 artisan of ordinary skill in 2011. See D.I. 104 at 85:11-20; 88:10-20. The parties

 submitted expert declarations and additional briefing in October 2023. See

 D.I. 123; D.I. 124; D.I. 125. I heard testimony from Alnylam's expert, Dr.

 Alexander Kros, and Defendants' expert, Dr. Kathryn Whitehead, at a hearing in

 January 2024.

         A claim construction hearing for the #229, #657, #479, and #480 patents was

 originally scheduled for April 2024. That hearing was postponed and ultimately

 held on July 12, 2024 to accommodate the schedules ofDrs. Kros and Whitehead

 so that they could testify further about the meaning of the term "head group."

 II.     LEGAL STANDARDS

         "It is a 'bedrock principle' of patent law that 'the claims of a patent define

 the invention to which the patentee is entitled the right to exclude."' Phillips v.

 AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005). A patent's claims, however,

 "do not stand alone." Id. A patent is "a fully integrated written instrument,"

 Markman v. Westview Instruments, Inc., 517 U.S. 370,372 (1996), that "consist[s]

 principally ofa specification that concludes with the claims," Phillips, 415 F.3d at

 1315.

         "[T]he construction of a patent, including terms of art within its claim[s], is

 exclusively within the province of the court." Markman, 517 U.S. at 372. In


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 performing this function, the court is "required" to follow "the standard

 construction rule that terms can be defined only in a way that comports with the

 instrument as a whole." Id. (emphasis added) (citation omitted).

        The Federal Circuit has "frequently stated that the words of a claim 'are

 generally given their ordinary and customary meaning."' Phillips, 415 F.3d at

 1312-13 (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed.

 Cir. 1996) (emphasis added). The court has also "made clear ... that the ordinary

 and customary meaning of a claim term is the meaning that the term would have to

 a person of ordinary skill in the art in question at the time of the invention, i.e., as

 of the effective filing date of the patent application." Id. "Th[is] inquiry into how

 a person of ordinary skill in the art understands a claim term provides an objective

 baseline from which to begin claim interpretation." Id. But consistent with the

 "standard construction rule" announced by the Supreme Court in Markman, the

 court clarified in Phillips that "the person of ordinary skill in the art is deemed to

 read the claim term not only in the context of the particular claim in which the

 disputed term appears, but [also] in the context of the entire patent, including the

 specification." Id. at 1313. In the court's words:

              [C]laims must be read in view of the specification, of
              which they are a part. . . . [T]he specification is always
              highly relevant to the claim construction analysis.
              Usually, it is dispositive; it is the single best guide to the
              meaning of a disputed term.


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 Id. (internal quotation marks and citations omitted).

       As the court noted in Phillips, in some cases, the ordinary meaning of claim

 language as understood by a person of skill in the art "is readily apparent even to

 lay judges." Id. at 1314. In such cases, claim construction "involves little more

 than the application of the widely accepted meaning of commonly understood

 words." Id. But "[i]n many cases that give rise to litigation, ... determining the

 ordinary and customary meaning of the claim requires examination of terms that

 have a particular meaning in a field of art." Id. In these latter cases,

              [b]ecause the meaning of a claim term as understood by
              persons of skill in the art is often not immediately
              apparent, and because patentees frequently use terms
              idiosyncratically, the court looks to those sources
              available to the public that show what a person of skill in
              the art would have understood disputed claim language to
              mean. Those sources include the words of the claims
              themselves, the remainder of the specification, the
              prosecution history, and extrinsic evidence concerning
              relevant scientific principles, the meaning of technical
              terms, and the state of the art.

 Id. (internal quotation marks and citation omitted).

       In considering evidence beyond the patent and prosecution history, however,

 a court must always be mindful that "[e]xtrinsic evidence is to be used for the

 court's understanding of the patent, not for the purpose of varying or contradicting

 the terms of the claims." Markman, 52 F.3d at 981.




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        "Ultimately, the interpretation to be given a term can only be determined and

 confirmed with a full understanding of what the inventors actually invented and

 intended to envelop with the claim." Renishaw PLC v. Marposs Societa 'per

 Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998) (citing Markman, 517 U.S. at 389).

 "The construction that stays true to the claim language and most naturally aligns

 with the patent's description of the invention will be, in the end, the correct

 construction." Id.

 III.   DISCUSSION

        Alnylam argues that I should construe "head group" to mean "a portion of

 the lipid molecule that is less hydrophobic than the hydrophobic tails." D.I. 86

 at 38; D.I. 184 at 8. Defendants do not dispute that a lipid's head group is less

 hydrophobic than the lipid's tails, but they say that this definition is incomplete

 and ignores what artisans of ordinary skill in 2011 understood the primary function

 a head group in a cationic lipid to be-i.e., to bring a positive charge to that lipid.

 See D.I. 184 at 40-42. Defendants ask me to construe "head group" to mean "a

 group that must be either permanently positively charged or protonatable." 1 In my



 1 On July 31, 2024, I issued an Oral Order proposing to change Defendants'

 original proposed construction-"a group that may be protonated"-to what I
 think is a more precise formulation-"a group that must be either permanently
 positively charged or protonatable." On August 2, 2024, Defendants agreed to this
 construction. D.I. 237. Under binding Federal Circuit law, "the trial judge has an
 independent obligation to determine the meaning of the claims, notwithstanding
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 view, Defendants' proposed construction of "head group" most naturally aligns

 with the patents' description of the invention. I am also persuaded by the extrinsic

 evidence adduced by the parties that an artisan of ordinary skill would have

 understood "head group" in the context of the asserted patents to mean a group that

 must be either permanently positively charged or protonatable.

       A.     The Asserted Independent Claims

       The parties treated claim 18 of the #933 patent as representative of the

 asserted independent claims in the #933 and #979 patents. It reads:

             A cationic lipid comprising a primary group and two
             biodegradable hydrophobic tails, wherein
             the primary group comprises (i) a head group that
             optionally comprises a primary, secondary, or tertiary
             amine, and (ii) a central moiety to which the head group
             and the two biodegradable hydrophobic tails are directly
             bonded;
             the central moiety is a central carbon or nitrogen atom;
             each biodegradable hydrophobic tail independently has
             the formula -(hydrophobic chain)-(biodegradable group)-
             (hydrophobic chain), wherein the biodegradable group is
             -OC(O}--- or ---C(O)O-;
             for at least one biodegradable hydrophobic tail, the
             terminal hydrophobic chain in the biodegradable
             hydrophobic tail is a branched alkyl, where the branching
             occurs at the a-position relative to the biodegradable
             group and the biodegradable hydrophobic tail has the

 the views asserted by the adversary parties." Exxon Chem. Pats., Inc. v. Lubrizol
 Corp., 64 F.3d 1553, 1555 (Fed. Cir. 1995).

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             formula -R 12-M 1-R 13 , where R 12 is a C4-C14 alkylene or
             C4-C14 alkenylene, M 1is the biodegradable group, R 13 is a
             branched C 1o-C20 alkyl, and the total carbon atom content
             of the tail-R12-M 1-R 13 is 21 to 26·
                                                 '
             in at least one hydrophobic tail, the biodegradable group
             is separated from a terminus of the hydrophobic tail by
             from 6 to 12 carbon atoms; and
             the lipid has a pKa in the range of about 4 to about 11 and
             a logP of at least 10.1.
 #933 Patent, 538:13-38.

       The parties treated claim 27 of the #229 patent as representative of the

 asserted independent claims in the #229, #657, #479, and #480 patents. It reads:

             A vaccine compnsmg a lipid particle and a
             pharmaceutically acceptable diluent, excipient, or carrier,
             wherein the lipid particle comprises:

             (i) a nucleic acid, wherein the nucleic acid comprises
             RNA,
             (ii) 36-65 mol % of a protonatable lipid compound,
             (iii) 3-12 mol % distearoylphosphatidylcholine (DSPC),
             (iv) 15-45 mol % cholesterol, and
             (v) 0.5-10 mol % of a PEG-modified lipid,

             wherein the mol % is based on 100% total moles of lipids
             in the lipid particle,

             wherein the protonatable lipid compound comprises a
             head group, hydrophobic tails, and a central moiety to
             which the head group and the hydrophobic tails are
             directly bonded, wherein:

             the central moiety is a nitrogen atom;




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              the hydrophobic tails consist of two hydrophobic tails;
              each of the two hydrophobic tails has the formula -R12-
              M 1-Rl3, wherein:

              R 12 is a C4 -C14 alkyl group, M 1 is -OC(O)-, and R 13
              is a C10-C20 branched alkyl, wherein R 13 is branched
              at the alpha position relative to the -OC(O)- group;

              the chain length of formula-R 12-M 1-R13 is 17 atoms;
              and

              the total carbon atom content of each hydrophobic tail is
              21 to 26 carbon atoms.

 #229 patent at 497: 18-498: 19.

       There are two noteworthy differences between the two representative claims.

 First, claim 18 of the #933 patent allows for the central moiety to be either a

 carbon or a nitrogen atom, whereas Claim 27 of the #229 patent requires the

 central moiety to be a nitrogen atom. Second, claim 18 of the #933 patent

 explicitly claims a "primary group," defined by the claims as "a head group and a

 central moiety ...." #933 patent at 535:40-41. It is the only independent claim in

 the asserted patents that claims a primary group. Neither claim 27 of the #229

 patent nor any other independent claim in the remaining patents claims a primary

 group. This difference, however, is of no moment, because the parties agree that,

 consistent with the claims of the #933 patent, the shared written description of all

 the asserted patents defines "primary group" as including both a head group and a

 central moiety. See D.I. 184 at 42 n.25, id. at 51; #933 patent at 16:53-55.


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        As an initial matter, the language of the asserted independent claims

  confirms the inadequacy of Alnylam's proposed construction. It is undisputed that

 the primary group-a group that is comprised in part of, and distinct from, the

 head group-is less hydrophobic than the hydrophobic tails. See D.I. 163

 at 102:9-15 (Alnylam's expert, Dr. Kros, agreeing that "the entire primary group,

 as that term is used in the patents, is less hydrophobic than the tails"). Thus,

 Alnylam's proposed construction does not ascribe to the claimed head group a

 meaning that differentiates it from the primary group as that term is used in all the

 asserted patents and claimed in the #93 3 patent. For that reason, Alny lam's

 proposed construction is overinclusive and thus inadequate. See CAE Screenplates

 Inc. v. Heinrich Fiedler GmbH & Co., 224 F.3d 1308, 1317 (Fed. Cir. 2000) ("In

 the absence of any evidence to the contrary, we must presume that the use of these

 different terms in the claims connotes different meanings."); Bd. ofRegents of the

 Univ. a/Texas Sys. v. BENQ Am. Corp., 533 F.3d 1362, 1371 (Fed. Cir. 2008)

 ("Different claim terms are presumed to have different meanings.").

        With respect to Defendants' proposed construction, nothing in the asserted

 independent claims of the patents makes clear whether the claimed head group

 must be permanently positively charged or protonatable. Defendants argue that

 "the plain language of the claims is consistent with [their] construction because it

 recites 'a head group that optionally comprises a primary, secondary, and tertiary


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 amine,' which are protonatable groups." D.I. 86 at 50. But this language is not

 inconsistent with Alnylam's position that the claimed cationic lipid's protonatable

 group can reside in either the head group or the central moiety. "Optionally"

 means "may or may not," and thus the claim language cited by Defendants does

 not require that the head group be a protonatable group.

       Alny lam similarly overreaches when it says that Defendants' construction of

 head group is "contrary" to the "plain claim language" of the asserted patents.

 D.I. 184 at 10. Alnylam is correct that all the asserted patents claim a lipid that is

 either permanently positively charged or protonatable and that "the independent

 claim language never expressly states the requirement that the head group be

 protonatable." D.I. 184 at 10 (emphasis in the original). It is also correct that the

 central moiety claimed in the #933 and #979 patents can be protonatable (i.e., "a

 central carbon or nitrogen atom") and that the claimed moiety in the #229, #657,

 #479, and #480 patents must be protonatable (i.e., be a nitrogen). But as a matter

 of logic, it does not follow from any of these premises that the head group cannot

 be permanently positively charged or protonatable. A lipid that has a permanently

 positively charged or protonatable head group will be permanently positively

 charged or protonatable. And a cationic lipid can have both a protonatable central

 moiety and a protonatable head group. D.I. 163 at 106:8-10. Thus, the claim




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 language cited by Alriylam is not inconsistent with Defendants' proposed

 construction.

       To sum up: The language of the asserted independent claims is incompatible

 with Alnylam's proposed construction. The language is compatible with

 Defendants' proposed construction but does not require that construction.

       B.     The Patents' Written Description
       Although it cannot be gleaned solely from the language of the claims

 whether the patents' head group must be permanently positively charged or

 protonatable, the remainder of the patents' shared written description makes clear

 that the claimed head group must be so. The patents' shared written description

 spans more than 250 pages and contains 1,021 drawn embodiments of complete

 cationic lipids. #933 patent at 76:24-395:25; D.I. 104 at 75:18-19. With out

 exception, the head group of each drawn embodiment is either permanently

 positively charged or protonatable. D.I. 125 ,r 45.

       The written description contains nine general formulas for cationic lipids

 (Formulas I, II, III, IIIA, IV, V, VIB, and VIII). #933 patent at 2:7-15:67. Each

 formula contains variables, and for each variable, the patent identifies structures

 that an artisan of ordinary skill could choose in designing a cationic lipid that

 accords with the patents' teachings. See generally id. Without exception, the head




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  groups used in all nine formulas are either permanently positively charged or

  protonatable. D.I. 125 ,r 41.

        Tables IA, 2A, and 2B in the patents' shared written description also

  disclose head groups. Table IA lists head groups that the patent describes as

  "suitable." #933 patent at 37:25-26. Table 1B of the patents' written description

  lists primary groups (combined head groups and linkers) that are "suitable." Id.

  at 42:51-52. Table 2A lists "representative" head groups that can be combined

  with linkers and representative hydrophobic chains to make cationic lipids in

  accordance with the teachings of the written description. #933 patent at 61 :22-30.

  Without exception, every head group identified in Tables IA, 2A, and 2B is

 permanently positively charged or protonatable. D.I. 125 ,r,r 42-44.

        The written description also discloses that the patents' inventors ran tests on

  certain identified cationic lipids. Id. ,r,r 47-48. The lipids selected for testing and

 the results of the tests are reported in Examples 36 and 37 of the written

 description. #933 patent at 521: 13-534:20. Without exception, the head group in

 each cationic lipid selected for testing in Examples 36 and 37 was either

 permanently positively charged or protonatable. D.I. 125 ,r,r 47-48.

        In sum, none of the thousands of head groups disclosed in the patents'

 voluminous written description is both not permanently positively charged and not




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  protonatable. Every disclosed head group is either permanently positively charged

  or protonatable.

        Alnylam insists otherwise, but its assertions to the contrary do not bear up to

  scrutiny. Alnylam says in its most recent brief, for example, that the patents'

 written description discloses "specific examples of non-protonatable head groups

 at physiological pH, including hydroxy1 and methoxy groups, as well as pyridine

 and imidazole," ... [and] zwitterionic head groups." D.I. 184 at 51-52 (citing

 #229 patent at 32:57-33:4). It cites in support of this assertion the following

 paragraph from the written description found in column 32 of the #933 patent:

              The head group can include an amine; for example an
              amine having a desired pKa. The pKa can be influenced
              by the structure of the lipid, particularly the nature of
              [the] head group; e.g. the presence, absence, and location
              of functional groups such as anionic functional groups,
              hydrogen bond donor functional groups, hydrogen bond
              acceptor groups, hydrophobic groups (e.g. aliphatic
              groups), hydrophilic groups (e.g. hydroxyl or methoxy),
              or ary1 groups. The head group amine can be a cationic
              amine; a primary, secondary, or tertiary amine; the head
              group can include one amine group (monoamine), two
              amine groups (diamine), three amine groups (triamine),
              or a larger number of amine groups, as in an oligoamine
              or polyamine. The head group can include a functional
              group that is less strongly basic than an amine, such as,
              for example, an imidazole, a pyridine, or a guanidinium
              group. The head group can be zwitterionic. Other head
              groups are suitable as well.




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 #933 Patent at 32: 45-64. 2

        As an initial matter, the paragraph does not teach that the claimed head

 group can be only a hydroxyl group, methoxy group, pyridine group, or imidazole

 group. The paragraph instead discloses a head group that has an amine and may

 also have "functional groups" that could influence the pKa of that amine. The

 paragraph identifies hydroxyl, methoxy, pyridine, and imidazole groups as

 examples of such functional groups. It is undisputed, however, that the existence

 of an amine in the head group makes the head group protonatable. See D.I. 124-1

 ,r 66 (Dr. Kros acknowledging that amines are protonatable at physiological pH);
 D.I. 163 at 67:15 (Dr. Kros acknowledging that an amine is a protonatable group at

 physiological pH); D.I. 125 ,r 33 ("The nitrogen atom in the protonatable cationic

 lipid example from the Patents-in-Suit is bound to three non-hydrogen atoms, not

 four atoms like the quaternary amines of the original [permanently positively

 charged] cationic lipids. This makes this amine group a tertiary amine. The

 practical result is that this cationic lipid is protonatable, i.e., capable of being

 positively charged, at certain pH values, instead of being permanently positively

 charged."). Accordingly, an artisan of ordinary skill would not understand the



 2 The exact location of certain paragraphs or figures in the patents' shared written

 description may be slightly different from patent to patent based upon formatting
 and the material on the cover page.

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 above-quoted paragraph to disclose a non-protonatable head group that has a

 hydroxyl, methoxy, pyridine, or imidazole group on its own.

        The paragraph does state that the head group can be zwitterionic, and it does

 not limit its reference to zwitterionic head groups to zwitterionic head groups with

 amines. But it is undisputed that a zwitterionic compound has a positively charged

 section. D.I. 163 at 126:10-16 ("Q: Well, a zwitterionic head group has a positive

 charge, right? A: [Dr. Kros] Which is balanced out by an equal number of negative

 charges. So if you have one positive charge, then you will have next to it one --

 sorry. If you have one positive charge, then you have one negative charge.");

 D.I. 125 ,r 62 (Dr. Whitehead explaining "zwitterionic head groups do have at least

 one positively charged/protonatable group."). A zwitterion is a compound with

 both positively and negatively charged sections that does not have an aggregate

 electrical charge. D.I. 236 at 65:6-7 ("[A] zwitterion has positive charge and a

 negative charge. So the sum is 0."). Thus, a head group that consisted solely of a

 zwitterionic group would fall within Defendant's proposed construction of head

 group. (At the initial clam construction hearing, Alnylam took the position that

 "[z]witterionic means that [a compound] can be, in certain circumstances, either

 positively or negatively charged" and said that "neither party is suggesting that

 zwitterionic is relevant to the construction of the particular claims at issue,"

 D.I. 104 at 29:18-20.)


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        Alnylam also points to the disclosure in Table 2A of the patents' written

 description of pyridine and imidazole head groups without amines. Alnylam

 argues that these head groups "are not protonatable at physiological pH." D.I. 184

 at 52. That may be true, but it is irrelevant. Defendants' proposed construction

 does not require that the head group be protonatable at physiological pH, and

 Alnylam does not dispute that the pyridine and imidazole groups are protonatable

 at some pH level. See D.I. 184 at 37. See also D.I. 236 at 118:24-119:24; D.I. 163

 at 124:15-25.

       Alnylam also argues that Defendants' proposed construction is inconsistent

 with two sentences in the written description that disclose a protonatable central

 moiety. See D .I. 184 at 51 (citing #229 patent at 17: 16-1 7); D .I. 184 at 16 (citing

 #229 patent at 33 :6-7). But neither sentence discloses a protonatable central

 moiety to the exclusion of a permanently positively charged or protonatable head

 group. The sentences in question merely allow for the possibility of a protonatable

 moiety. They say nothing about the composition of the head group. Moreover, the

 two specific examples of cationic lipids with a nitrogen central moiety disclosed in

 the specifications both have head groups that contain protonatable amines. See

 D.I. 125 ,r 66; D.I. 163 at 105:10-106:10.

       Finally, Alnylam argues that the statement in the patents' written description

 that "[o]ther head groups are suitable as well" "highlights the error" of Defendants'


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  proposed construction. D.I. 86 at 40. The sentence in question is the last sentence

  in the paragraph from column 32 of the #933 patent quoted above. As discussed

  above, every head group discussed in that paragraph is permanently positively

  charged or protonatable. But even more important, as also discussed above, the

  patents' written description discloses thousands of cationic lipids, not one of which

  has a head group that is both not permanently positively charged and not

  protonatable. As Dr. Kros admitted at the January 4, 2024 claim construction

  hearing, the asserted patents' written description "never says an uncharged head

 group is suitable for the claimed cationic lipids." D.I. 104 at 127:9-11. Thus,

 reading the sentence, as I must under Markman, in the context of the specification

 as a whole, it is clear that this catch-all sentence refers only to head groups of the

 same type as the thousands of examples drawn and described in the patents'

 written description-that is, groups that must be either permanently positively

 charged or protonatable.

        C.     Extrinsic Evidence

        The extrinsic evidence brought to my attention by the parties confirms that

 "head group" should be construed to mean a group that must be permanently

 positively charged or protonatable.

        Dr. Kros repeatedly testified that an artisan of ordinary skill would have

 understood in 2011 that, for the purpose of encapsulating RNA, it does not matter


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  where the positive charge is within the cationic lipid. See, e.g., D.I. 163 at 61 :21-

  23 ("you really need a cationic charge, but it doesn't matter where it is located on

 the molecule, as long as somewhere in the molecule, there's a positive charge so it

 can bind to the RNA"); 62:3-6 ("Q: Does the RNA care where in the cationic lipid

 the protonation takes place? A. No. It should be cationic lipids and exact location

 doesn't matter for the RNA); 102:5-8 ("the patents teach me that somewhere in the

 primary group, I need to have the positive charge, but it doesn't tell me whether it

 is in the head group or in central moiety. I can choose, and RNA doesn't care").

 Dr. Whitehead offered a more nuanced take, testifying that a person of ordinary

 skill in 2011 had a different understanding. According to Dr. Whitehead, although

 artisans of ordinary skill now know that the location of the charge is not critical,

 this knowledge "is something that has developed over time." D.I. 163 at 161: 13-

  15. In Dr. Whitehead's words:

               So at that time, you know, as I mentioned, that positive
               charge was almost always, as far as possible, towards the
               end of the head group because if you put it ... in what
               we're calling here the central moiety, folks thought that
               it's not going to be able to -- like the lipid, like the head
               group would almost have to bend backwards a little bit to
               kind of thrust, for lack of a better word, to reveal that
               positive ... group in order to maximize interactions.
               And so it was a matter of steric hindrance. Of course -
               you know, of course we were ultimately wrong, and we
               see now that we can have something in the central moiety
               that has the same function. But at that time, it was not
               considered possible. Somebody would not have done
               that.

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 Id. at 161:16-162:6.

        I find Dr. Whitehead's perspective credible, and as a general matter, based

  on her demeanor, I found her to be a credible witness. Dr. Whitehead was the lead

  author of numerous peer-reviewed articles published around the time of the

  asserted patents' priority date that focus on the operation and efficacy of lipids or

  lipid-like compounds for nucleic acid delivery. See, e.g., Kathryn A. Whitehead et

 al., Knocking Down Barriers: Advances in siRNA Delivery, 8 NATURE REVIEWS I

 DRUG DELIVERY 129 {Feb. 2009) {discussed in D.I. 125); Kathryn A. Whitehead et

 al., Synergistic Silencing: Combinations ofLipid-like Materials for Efficacious

 siRNA Delivery, 19 MOLECULAR THERAPY: THE JOURNAL OF THE AMERICAN

 SOCIETY OF GENE THERAPY 1688 {2011) {D.I. 184, Ex. 59) (discussed in D.I. 184

 Exs. 53; 64) (referred to by the parties as "Whitehead (2011)"). Her firsthand

 experience working with lipids and lipid-like compounds in this time frame is

 instructive as to what an artisan of ordinary skill would think was possible and

 preferred in cationic lipid design.

        The extrinsic references introduced by both parties support Defendants'

 construction of "head group." Defendants introduced references that consistently

 use the term "head group" to refer to permanently positively charged or

 protonatable structures. The references introduced by Alnylam either use "head

 group" consistently with Defendants' references or are not probative.

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        I begin with Defendants' references. Defendants introduced multiple

  articles published during the 1999-2012 time frame that all described cationic

  lipids as having permanently positively charged or protonatable head groups. I

 found these references compelling. These articles supported Dr. Whitehead's

 testimony that artisans of ordinary skill twenty years ago understood cationic lipids

 to have permanently positively charged head groups. D.I. 163 at 165:9-19; see

 also D.l. 125 ,I 28 (citing Tang & Hughes, Synthesis ofa Single-Tailed Cationic

 Lipid and Investigation of its Transfection, 62 J. CONTROLLED RELEASE 345, 345-

 46 (1999) ("[a]ll cationic lipid molecules contain three functional domains: a

 positively charged head group, a hydrophobic region, and a linker that tethers the

 cationic group and hydrophobic groups."). See also Chesnoy and Huang, Structure

 and Function ofLipid-DNA Complexes for Gene Delivery, 29 ANNUAL REV. OF

 BIOPHYSICS AND BIOMOLECULAR STRUCTURE 27, 28 (2000). "Over time ...

 [c]ationic lipids with a permanently positive charge in the head group were used

 less than cationic lipids with a protonatable head group" because lipids with a

 permanent charge were "consistently less effective" than lipids with protonatable

 head groups. D.I. 125 ,I 31 (quoting Jayaraman et al., Maximizing the Potency of

 siRNA Lipid Nanoparticlesfor Hepatic Gene Silencing In Vivo, 51 ANGEW. CHEM.

 INT. ED. 8529 {2012)).




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       Two articles discussed by Dr. Kros use the term "head group" in a way that

 is consistent with Defendants' construction. The first is from 2005: Martin, The

 design ofcationic lipids for gene delivery, 11 CURRENT PHARM. DESIGN, 3 75

 (2005) (hereafter, "Martin (2005)"). As Dr. Kros notes, Martin (2005) identifies

 drawn examples of lipids with head groups that are not protonatable and that

 contain a nitrogen central moiety. D.I. 184-6, Ex. 53 at PageID 14934. But Martin

 (2005) also consistently describes the head group as "cationic," and describes a

 cationic lipid for drug delivery as containing "three fundamental constituent parts:

 the cationic head group, hydrophobic domain, and connecting linker." D.I. 184-6,

 Ex. 55 at PageID 14972. See also id. at PageID 14975 ("A cationic lipid is a

 positively charged amphiphile, which generally contains the three following

 structural domains: i) a hydrophilic headgroup which is positively charged....).

 Thus, the reference supports Defendants' articulation of how an artisan used the

 term "head group" in the context of cationic lipids.

       Dr. Kros also reli_ed on a 2002 article by Srilakshmi et al. D.I. 184-6, Ex. 53

 at PageID 14931 (citing Srilakshmi et al., Anchor-dependent lipofection with non-

 glycerol based cytofectins containing single 2-hydroxyethyl head groups, 1559(2)

 BIOCHIMICA ET BIOPHYSICA ACTA - BIOMEMBRANES, 87 (2002)) (hereafter

 "Srilakshmi (2002)"). Like Martin (2005), Srilakshmi (2002) has figures that Dr.

 Kros contends depict cationic lipids with non-protonatable head groups.


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 D.I. 184-6, Ex. 53 at PageID 14931-32 (citing D.I. 184-6, Ex. 54 at PageID

  14959). But like Martin (2005), the text of Srilakshmi (2002) consistently uses the

 term "head group" to refer to the portion of the compounds identified by Dr. Kros

 that are permanently positively charged. D.I. 236 at 94:16-18; 95:14-96:11.

        The remainder of the references Alnylam relies on are not probative as to

 meaning of "head group" in 2011 in the context of cationic lipids. The first

 reference cited by Alnylam and Dr. Kros is a 2023 article in Encyclopedia

 Britannica, D.I. 124-1 ,r,r 37-42. Dr. Kros also cited a passage from the textbook

 Molecular Biology of the Cell. D.I. 124-1 ,r,r 37, 38, 40. Putting aside the date of

 the Encyclopedia Britannica article, these general references discuss only naturally

 occurring lipids at a very high level of generality. Neither source offers guidance

 as to whether an artisan of ordinary skill in 2011 would have understood the term

 "head group" to mean a positively charged structure in the context of engineered,

 cationic lipids.

        Dr. Kros also relied on a published patent application and a 2008 article

 from the journal Nature Biotechnology. The patent application, WO 2006/138380

 (the #380 Application) lists Dr. Daniel Anderson as the lead inventor and is cited

 as prior art on the face of the asserted patents. D.I. 124-1 ,r 58 n.14. The Nature

 Biotechnology article (referred to by the parties as "Anderson (2008)") lists Dr.

 Anderson, as well as some inventors of the asserted patents and others, as authors,


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  and includes a description of compounds disclosed in the earlier #3 80 Application.

  D.I. 184-6 at PageID 14939. Dr. Kros identified six specific compounds-LD31,

  LF3 l, LF93, LF94, LG93 and ND28-that are disclosed in the two references and

  that he contends are cationic lipids with protonatable central moieties and non-

  protonatable head groups. Id. at PagelD 14937-38.

        Like the article in Encyclopedia Britannica and Molecular Biology of the

  Cell, the #380 Application and Anderson (2008) are not helpful. First and

  foremost, the #3 80 Application and Anderson (2008) never once use the term

 "head group." D.I. 184 at 49. Second, for reasons explained more fully below, the

 #380 Application and Anderson (2008) disclose examples of a distinct class of

 materials called lipidoids, not lipids. Although the six compounds identified by

 Dr. Kros were called "lipids" in the #3 80 patent application in 2006, by the time

 the article describing the compounds' structure was published in Nature

 Biotechnology two years later, the compounds were called "lipidoids." D.I. 236
                                                  t



 at 24:4-8. Dr. Kros argued that an artisan of ordinary skill would consider the

 compounds cationic lipids based on their structure, id. at 23:22-24:1, and he

 speculated that the authors came up with the name "lipidoids" because they

 "want[ed] to distinguish [the subject matter of the article] from lipids, especially

 biological lipids, that are already there[] [a]nd ... give [the subject matter of the




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 article] an air of novelty in order to get-to increase the chances that your work is

 being published in a highly respected journal like Nature Biotech," id. at 24: 17-22.

        Dr. Whitehead, who "found the time to work on [Anderson (2008)] during

  [her] post-doctoral research," disagreed with Dr. Kros. Id. at 149:18-21.

 According to Dr. Whitehead, Anderson (2008) introduced lipidoids as a new class

 of materials. Id. at 149:12-16. She testified that experts in the field pushed back

 against calling the compounds disclosed in Anderson (2008) lipids and "felt that[]

 these needed to be named something else because they were distinct from classical

 cationic lipids." Id. at 150:1-5; 9-11. She testified that the compounds "were not

 named for - just for the purpose of having a paper published in a fancy journal like

 Nature Biotech." Id. at 130:6-7.

        Again, I find Dr. Whitehead's testimony to be credible. Dr. Whitehead was

 involved in the work underlying the Anderson (2008) paper and the industry

 discussions surrounding the introduction of lipidoids as a ~lass of RNA delivery

 materials. Moreover, I question the notion that the editors and peer reviewers at a

 prestigious journal like Nature Biotechnology would fall for the type of

 gamesmanship suggested by Dr. Kros. I therefore find that these references, which

 discuss neither cationic lipids nor head groups, are not useful in helping me

 understand how an artisan of ordinary skill understood the term "head group" in

 the context of cationic lipids.


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        Alnylam also introduced Dr. Whitehead's own paper from 2011. See

  Whitehead (2011) supra p.19. But like Anderson (2008), this paper only discusses

 lipidoids from the #380 Application. See D.I. 236 at 151: 3-9 (Dr. Whitehead

 explaining that in her article "we were interested in understanding more about

 lipid-like materials or lipidoids, and we were interested in taking that paper from

 Anderson in 2008 and examining some of the materials that did not work

 well .... "). Accordingly, Whitehead (2011) is also unhelpful to the issue at hand.

        In sum, although there may have been isolated instances in the prior art of

 lipid-like compounds or even traditional lipids that did not have protonatable head

 groups in the parties' extrinsic references, the record shows that artisans of

 ordinary skill overwhelmingly used the term "head group" to refer to the

 protonatable or permanently positively charged portion of a cationic lipid. I find

 Dr. Whitehead's explanation of the development of the field since 2011 credible

 and find that the extrinsic evidence favors Defendants' construction of "head

 group."

        D.    Dependent Claims
        Lastly, Alnylam argues that I should reject Defendants' proposed

 construction of "head group" because it "directly contradict[ s]" certain dependent

 claims of the #229, #657, #479, and #480 patents that "require that the head group

 contain only groups that are not protonatable at physiological pH." D .I. 124 at 11


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  (italics removed). It is undisputed that these claims-claims 10, 16, 25, and 28 of

 the #229 patent, claims 19 and 23 of the #657 patent, claims 8, 12, and 19 of the

 #4 79 patent, and claims 10 and 11 of the #480 patent-require that the claimed

 cationic lipid contain a protonatable central moiety or primary group with a head

 group that "consists of a saturated aliphatic group and a hydroxyl group." It is also

 undisputed that a head group consisting of a saturated aliphatic group and a

 hydroxyl group is not protonatable at any pH. See D.I. 163 at 192:5-21. Thus, my

 adoption of Defendants' construction of"head group" would effectively nullify

 these dependent claims. But that consequence, even though generally disfavored,

 is a fair result under the circumstances present here.

        As an initial matter, the dependent claims in question offer no assistance in

 determining the ordinary and customary meaning of the term "head group" to an

 artisan of ordinary skill in 2011. Alnylam submitted the claims that led to the

 issuance of each of the six asserted patents in 2021 or later-Le., ten years after

 Alnylam filed the provisional application to which the asserted patents claim

 priority. D.I. 86 at 6-7. Moreover, Alnylam did not file the patent applications

 leading to the six asserted patents until after information about the lipids used in

 the Pfizer/BioNTech accused mRNA vaccines was publicly disclosed. D.I. 236

 at 60:24-25. ("All of the claims of all six patents were filed for after the product

 was made."); D.I. 86 at 7 n.7 ("Defendants' lipid structure was published on April


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 9, 2021. "). The applications leading to the asserted patents were filed between

 April 21, 2021 and February 14, 2022.

        Although there is a presumption against construing a patent claim's term in a

 way that eliminates other claims, that presumption is not an unbreakable rule and

 can be overcome. Multilayer Stretch Cling Film Holdings, Inc. v. Berry Plastics

 Corp., 831 F.3d 1350 (2016). In Multilayer, the asserted patent had an

 independent claim directed to a "multi-layer, thermoplastic stretch wrap film,"

 with "two identifiable outer layers" and "five identifiable inner layers." 831 F .3 d

 at 1353. The five inner layers were to be "selected from the group consisting of'

 four different types of plastic resins: LLDPE, VLDPE, ULDPE, and mLLDPE. Id.

 at 1355. The claim used the transitional phrase "consisting of," and was structured

 as a "Markush" group, i.e. a claim that contains a limitation allowing for the

 selection of alternate structures from an enumerated list. Id. at 1357. The district

 court therefore construed the limitation to require each inner layer to be composed

 of a single plastic resin from the list. Id. at 1355. The district court's construction

 did not encompass any inner layer made from a blend of more than one resin or a

 resin other than the four listed in the claim. Id. at 1356.

       The asserted patent had "dependent claims that describe inner layers

 containing" a fifth type of plastic resin, "LDPE." Id. at 1360. Under the district

 court's construction, the dependent claims were fundamentally inconsistent with


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  their parent claim. Despite the inconsistency, the Federal Circuit upheld the

  portion of the district court's claim construction limiting the independent claim to

  four alternative resins, because "[t]he language of a dependent claim cannot

  change the scope of an independent claim whose meaning is clear on its face." Id.

        Although nonprecedential, the Federal Circuit's recent decision in Barrday,

 Inc. v. Lincoln Fabrics Inc., 2023 WL 7871688 (Fed.-Cir. Nov. 16, 2023) is

 especially instructive. In Barrday, the two asserted patents described multi-layer,

 woven ballistic fabrics. 2023 WL 7871688, at* 1. The representative independent

 claim of both patents described "a multi-layer ballistic woven fabric" comprising at

 least two layers, an "upper woven layer" and a "lower woven layer." Id. The

 independent claim required that the upper and lower layers had "warp yams"

 (yams that run with the grain of the fabric), "weft yams" (yams that run across the

 grain of the fabric), and that the fabric had "securing yarns" that interwove with the

 warp and weft yams of both layers to secure the layers together. Id.

        Barrday asserted one of its patents against defendant Lincoln Fabrics in

 February 2015. Id. at *2. Lincoln informed Barrday that its products did not

 infringe because "the accused Lincoln fabrics interweave the upper (or first) and

 lower (or second) layers without using securing yarns." Id. Less than a month

 later, Barrday amended the claims of its then-pending second asserted patent to add

 five dependent claims that each claim upper and lower layers connected by some


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  permutation of the upper or lower warp or weft yarns acting as the securing yarn.

 Id. The second patent issued after this amendment and Barrday added it to the case

  against Lincoln. Id.

        "The crux of the parties' dispute [wa]s whether the securing yarns claim

 term can include yarns from the upper and lower woven layers when such yarns

 are serving the securing function." Id. at 3. The panel majority held that the plain

 language of the independent claim separated securing yarns from the claimed

 layers, and that the written description and figures "exclusively refer[red] to

 securing yarns as structures that are separate and distinct from warp and weft yarns

 of the upper and lower layers." Id. at 4. The specification also criticized the

 practice of interweaving yarns from multiple layers as the practice creates crimps

 and weak points. Id. at 4. In the face of Lincoln's overwhelming specification

 evidence, Barrday identified only a short excerpt of the written description and the

 aforementioned dependent claims in its later-issued asserted patent as support for

 its construction. Id. at 5-6.

        Barrday made the exact argument Alnylam makes here-the patents'

 dependent claims must inform the construction of the claim terms-and it cited

 many of the same cases Alnylam cites in its portion of the Joint Claim

 Construction Brief (D.1. 184). The panel majority did "not find [that] argument

 persuasive." Id. at 7. In the court's words:


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              "While it is true that dependent claims can aid in
              interpreting the scope of claims from which they depend,
              they are only an aid to interpretation and are not
              conclusive." Multilayer Stretch Cling Film Holdings,
              Inc. v. Berry Plastics Corp., 831 F.3d 1350, 1360 (Fed.
              Cir. 2016) (citations omitted). "[C]laim differentiation is
              a rebuttable presumption that may be overcome by a
              contrary construction dictated by the written description
              or prosecution history." Howmedica [Osteonics Corp. v.
              Zimmer, Inc.], 822 F.3d[, 1312] 1323 [Fed. Cir. (2016)]
              (citation omitted). This court has adopted a construction
              rendering dependent claims meaningless when that
              construction was supported by either the specification or
              the prosecution history. See Marine Polymer Techs., Inc.
              v. HemCon, Inc., 672 F.3d 1350, 1358-59 (Fed. Cir.
              2012) (en bane) (construction supported by
              specification); Regents of Univ. of Cal. v.
              Dakocytomation Cal., Inc., 517 F.3d 1364, 1371-76
              (Fed. Cir. 2008) (construction supported by prosecution
              history); Enzo Biochem Inc. v. Applera Corp., 780 F.3d
              1149, 1154-57 (Fed. Cir. 2015) (construction supported
              by specification); Multilayer Stretch, 831 F.3d at 1358-
              62 (construction supported by specification). Similarly,
              we do so here where the claim language, specification,
              and figures all support a securing yams construction that
              excludes yams from the upper and lower layers.

              The lack of weight afforded to the dependent claims is
              particularly appropriate here because such claims were
              added after the filing of the original patent application
              and because the motive for adding such claims appears to
              be litigation-driven.

 Id. (footnote omitted).

       As discussed above, in this case, an artisan of ordinary skill reading the

 specifications as a whole would understand that the claimed head group must be

 either permanently positively charged or protonatable. This ordinary and

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  customary meaning of the term is bolstered by the peer-reviewed articles published

 before and around the priority date of the asserted patents and Dr. Whitehead's

 credible testimony about the state of the art in 2011. The language of the issued

 independent claims in all the asserted patents must be read in harmony with the

 ordinary and customary meaning of"head group." The specifications and

 independent claims are sufficiently clear. Accordingly, I will not change the

 ordinary and customary meaning of the term "head group" because of dependent

 claims in the later-issued patents. That conclusion is especially warranted here, as

 the timing of Alnylam's patent applications as well as the content of the dependent

 claims in the later-issued patents are strong indications that Alnylam's continued

 prosecution of this patent family was conducted with the specific intent to ensnare

 Defendants' mRNA vaccine products.

 IV.    CONCLUSION
        For the foregoing reasons, I will construe "head group" to mean "a group

 that must be either permanently positively charged or protonatable."

        The Court will enter an Order consistent with this Memorandum Opinion.




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